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                          Transcription of Notes of DAD Peter Strzok
                                 Undated (but likely 1/5/2017)
                                     Document ECF 231-1

Note that counsel for Strzok, Aitan Goelman, reported to the DC-USAO on 10/23/2020, that
these notes were taken by his client at an FBI meeting and that they reflect Director James
Comey’s account of a meeting that had taken place earlier on the day of 1/5/2017 at the White
House.
NSA-D-DAG: Flynn cuts. Other countries
D-DAG: team found on unclass
VP: “Logan Act”
P: These are unusual times
VP: I’ve been on the intel committee for ten years
       and I never
P: Make sure you look at things + have the right people on it.
P: Is there anything I shouldn’t be telling transition
       team?
D: Flynn → Kislyak calls but appear legit
[U/I] Happy New Year. Yeah right
